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               IN THE UNITED STATES DISTRICT COtTlit
               FOR THE MIDDLE DISTRICT OF AI4BNNIUS p 0 1
                        NORTHERN DIVISION           f-vr TT 1:1


     IN RE: SUBPOENA ISSUED                                       :3TitiCT ALA
BY THE CLERK OF THE UNITED
STATES DISTRICT COURT FOR                          MISC. CIVIL ACTION No.
THE SOUTHERN DISTRICT OF                             a;11- Mc-38944-MtIT-SCO
OHIO TO MELISSA BROWN, A
RESIDENT OF THE MIDDLE
DISTRICT    OF     ALABAMA,
NORTHERN DIVISION,



        MOTION TO QUASH OHIO FEDERAL SUBPOENA
   DIRECTING MELISSA BROWN TO PROVIDE DEPOSITION
        TESTIMONY IN. MONTGOMERY,ALABAMA

      Comes now Melissa Brown (hereinafter "Brown"), a resident of the

Middle District of Alabama, Northern Division, and, pursuant to Federal Rule

of Civil Procedure 45(3)(A)(iii), moves this Honorable Court to quash a

witness deposition subpoena issued by the clerk of the United States District

Court for the Southern District of Ohio styled In Re Ohio Execution Protocol,

No. 2:11-cv-1016(S.D. Ohio). As grounds, Brown would state as follows:

      1.    On September 3rd a subpoena was issued by the clerk of the

United States District Court for the Southern District of Ohio requiring Brown

to provide deposition testimony concerning her attendance at several

executions while she was acting in her capacity as a newspaper reporter for

The Montgomery Advertiser newspaper. A copy of the subpoena is attached as
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Exhibit A. The subpoena seeks to require Brown to attend a deposition

September 27, 2019, at 1 p.m. at the Frank M. Johnson, Jr. U.S. Courthouse

Complex.

      2.     Brown is a resident of Montgomery, Alabama, which is within

the United States District Court for the Middle District of Alabama.

      3.     As the district where cotr►pliance with a subpoena is required, this

Court has jurisdiction to review a motion to quash the subpoena issued by the

Ohio federal district court.

      4.     In Re Ohio Execution Protocol, No. 2:11,cv-1016 (S.D. Ohio)

appears to be a case challenging the constitutionality of the execution

protocols in the State of Ohio. The challengers in In Re Ohio, appear to claim

that the execution protocols in Alabama and Ohio are similar. Based upon

communications with Paul R. Bottei of the Office of Federal Public Defender

in Columbus, Ohio, it is clear the subject and purpose of the deposition of Ms.

Brown will be to question Ms. Brown about what she witnessed while

attending the executions of Domineque Ray, Christopher Lee Price and

Michael Samra, all of which were conducted by the Alabama Department of

Corrections in 2019. Brown was one of more than a dozen or so witnesses to

the execution, which typically include the inmate's attorneys, spiritual advi'sörs

and family members, the victim's family members, various state officials,


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DOC officers and a DOC spokesperson. Upon information and belief

representatives ofthe Attorney General's Office were also present.

      5.     Ms. Brown is protected by CODE OF ALABAMA 1975 § 12-21-142

(hereinafter the "Alabama Reporter's Shield Law")which provides;

      "No person engaged in, connected with or employed on any
      newspaper, radio broadcasting station or television station, while
      engaged in a newsgathering capacity, shall be compelled to
      disclose in any legal proceeding or trial, before any court or
      before a grand jury of any court, before the presiding officer of
      any tribunal or his agent or agents or before any committee of the
      legislature or elsewhere the sources of any information procured
      or obtained by him and published in a newspaper, broadcast by
      any broadcast station or televised by any teleyision' station in
      which he is engaged, connected with or employed."

      6.     Reporters gather and report news. The above provision

recognizes the public policy benefits of allowing members of the media to

protect the sources of any information published by the news organization by

which they were employed.

      7.     Brown has, in fact, obtained and published information from

confidential sources relating to executions in Alabama and must protect the

sources of that information.

      8.     Many matters published by news organizations become the

subject of litigation weeks, months or years later. Some publications then

report on the ongoing litigation. Litigants in litigation often shackle reporters'

ability to gather the news when they attempt to harness a reporter's
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newsgathering capabilities for their own litigation purposes. Journalistic

autonomy and independence must be proteCted if the press is to fulfill its vital

role of gathering and reporting news. A reporter's ability to secure the trust of

news sources, and the reporter's ability to attend and observe news events,

turns on the public's perception of reporters as agents for an independent press

and not connected with other interests.

      9.     Brown s status as one reporter among several other (non-

reporter) witnesses to each exeCution, establishes a qualified "reporter's

privilege protecting her from being forced to testify about information which

can readily be acquired from other sources. This privilege was last considered

by the United States Supreme Court in 1972 in Branzburg v. Hayes, 408 U.S.

665 (1972). In that case three reporters were subpoenaed to testify about their

interviews and photos with The Black Panthers. One of the reporters, Paul

Branzburg, witnessed members of the group using hashish and preparing it for

sale. There were no other sources for that information without Fifth

Amendment rights.

      10.    Justice Lewis Powell issued a concurring opinion explaining the

decision recognized a qualified privilege calling for balancing the First

Amendment rights of reporters with the subpoenaing parties' need for

disclosure. 408 U.S. at 710. He said the decision should be made on a case-by-
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case basis. Id. He said: "Indeed, if the newsman is called upon to give

information bearing on a remote and tenuous relationship to the subject of the

investigation...he will have access to the court on a motion to quash...." Id.

       11.   The qualified privilege was accepted in the old Fifth Circuit in

Miller v. Transamerican Press, Inc., 621 F.2d 721, 726 (5th Cir. 1980), cert.

denied, 450 U.S. 1041, 101 &Ct. 1759 (1981) (privilege overcome in libel

case concerning information from a confidential source) and by the Eleventh

Circuit in U.S. v. Caporale, 806 F.3d 1487, 1504 (11th Cir. 1986)(privilege

upheld in case where reporters were alleged to have received information

possibly supporting a jury tampering claim but FBI agents with same

information testified). The most recent Eleventh Circuit case followed Miller

but upheld the privilege even in a libel case where the defendant was

protecting the source of the libelous statements where discovery would likely

lead to the name of the source. Price v. Time, Inc. 416 F.3d 1327, 1346-48

(11th Cir. 2005).

       12.   In this case Ms. Brown wrote articles about the executions of

Ray,Price and Samra. Copies of the articles are attached as Exhibits B-D. She,

and presumably all present, had to sign in. There are separate viewing rooms

from the victim's family and the prisoner's family. Ms. Brown was present in

the state's witness room. With regard to Ray's witness room there were three
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witnesses, a spiritual advisor and two lawyers. As for Price the victim's

widow, two daughters, two grandsons and a nephew were present. For Price,

his lawyer was present. Finally, regarding Samra, there were six family

members serving as witnesses for the victim and two attorneys and a spiritual

advisor for Samra. There were several additional witnesses from the Alabama

Department of Corrections.

       13.   A case from the Supreme Court of Florida quashing subpoenas

issued under almost exactly the same circumstances presented here supports

quashing the subpoenas issued to all the reporters involved in this case. In

Muhammad v. State, 132 So.3d 176 (Fla. 2013), reporters who witnessed and

reported on executions were subpoenaed to give testimony allegedly

pertaining to the constitutionality of lethal injection procedures. The trial judge

quashed the subpoenas. 132 So.3d at 189.

       14.   On appeal, the Florida Supreme Court found that to overcome the

statutory privilege, the party issuing the subpoena has to make a clear showing

(a)the information was relevant to unresolved issues,(b)the information could

not be obtained from alternative sources, and (c) a compelling interest exists

for requiring the disclosure. Id. Citing the Eleventh Circuit's discussion of a

"compelling need" in U.S. v. Caporale, supra, the Florida Supreme Court

noted the information must be "highly relevant, necessary to the proper
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presentation ofthe case, and unavailable from other sources." 132 So.3d at 190

quoting Caporale at 806 F.2d at 1504. The Florida Supreme Court held:

                We conclude that the circuit court did not abuse its
        discretion in quashing these two subpoenas based on the qualified
        privilege in section 90.5015. There were twenty-eight witnesses
        to the Happ execution. Muharnmad failed to explain why he
        could not discover the identity of even one of those witnesses
        other than through public records requests that were denied him.
        Further, his own expert witness read the news articles in question
        and was aware of the reports of Happ's movements after
        introduction of midazolam hydrochloride in the lethal injection
        procedure. Dr. Heath did not testify that the movement reported
        in the articles indicated Happ was conscious or that the
        midazolarn hydrochloride did not work as anticipated. He
        testified instead that movement does not necessarily equate with
        consciousness. Further, Dr. Evans gave similar testimony. Thus,
        Muhammad failed to demonstrate a compelling interest in
        disclosure of the inforrnation gathered by the news reporters in
        the scope of their employment, and failed to demonstrate that the
        inforrnation, even if relevant to the efficacy of midazolam
        hydrochloride, could not have been obtained from alternate
        sources.

Muhammad v. State, 132 So.2d at 190-91.1

         15.     Caselaw supports the view that, the qualified privilege must be

viewed on a case-by-case basis weighing the newspersons' First Amendment

rights against the rights of the party seeking the testimony in their case. Here,

the facts do not support defeat ofthe privilege.




 The Florida Supreme Court also agreed with the trial court's decision not to admit the articles thernselves
as hearsay. 132 So.2d at 191.
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      16.    Like the Price v. Time case, the party seeking the deposition here

could likely obtain the same eye-witness information of the execution if

discovery were taken from other available sources.

      17.    The reporter's privilege was not created to establish newspersons

as a favored class, but rather to protect the public's right to know. Because the

purpose of the qualified privilege is to assure to the fullest extent possible the

free flow of information to the public, the privilege applies to all information

acquired by a reporter in gathering the news, regardless of whether the

information is confidential. North Carolina v. Smith, N.C. Supr., 13 Med.

L.Rptr. (BNA) 1940 (1987); Maughan v. NL Industries, 524 F. Supp. 93

(D.D.C. 198,1); In re Schuman, 552 A.2d 602 (N.J. Supr. 1989). A forced

inquiry into unpublished information inevitably intrudes upon editorial

decisions and can seriously impair the gathering and publication of news.

Such compulsory process necessarily has a chilling effect on First Amendment

freedom. Sweezy v. New Hampshire,354 U.S. 234, 245 (1957).

      18.    Even if no confidential source information were involved, this

constitutional privilege would_ apply. This privilege is designed to lift the

chilling effect enforcement of such subpoenas would have on the free flow of

information. United States v. Blanton, 534 F. Supp. 295, 297(S.D. Fla. 1982);

In re:• Consumers Union, 495 F. Supp. 582 (S.D. N.Y. 1980); Altemose


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Construction Co. v. Building & Construction Trades Council, 443 F. Supp.

489 (E.D. Pa. 1977); United States v. Cuthbertson, 630 F.2d 139 (3rd Cir.

1980)(Cuthbertson I), cert. denied, 449 U.S. 1126, reversed, 651 F.2d 189

(3rd Cir.), cert. denied, 454 U.S. 1056 (1981). Indeed, "[i]t is only by

preserving the right of the press to avoid being made a part of a controversy

merely as a result of its performing its constitutionally-favored duties that the

press may avoid the 'chilling effect' that the enforcement of this subpoena

would have on the flow of information to the press and to the public." North

Carolina v. Smith, 13 Med.L.Rptr.(BNA)at 1941.

      19.      Reporters are converted to investigative arms of litigants

whenever the files of unpublished information are subject to discovery. This

conversion takes place whether or not the information in those journalists' files

was obtained confidentially. If the general population perceives that talking to

the press is indirectly talking to the court and lawyers, reporters may well be

shunned by sources which would have trusted them and will be denied access

to meetings, accident scenes, and other events to which they otherwise would

be admitted.

      20.      Unlike ordinary citizens, reporters are routinely at sites of events

that are likely to become the subject of litigation, such as, for example,

executions. Reporters also cover criminal and civil cases after they are


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initiated. Whether the journalist is covering a serious automobile accident,

reporting on a crime, investigating the scene of an airplane crash, gathering

investigative material for a report on governmental malfeasance, reporting on a

hearing in court, or providing photographs as part of these journalistic

activities, the subjects of the reporters' work are likely to show up in a

courtroom setting.    As a result of this exposure, litigants will subpoena

reporters or their materials because reporters, unlike many other witnesses, are

easy to locate and serve with process.

      21.    Ifjournalists are unprotected from summary demands to testify or

produce their work product in proceedings in which they are not even parties,

subpoenas to the press will become a routine element of litigation. Reporters,

photographers, and editors would regularly be summoned to appear at

depositions, before grand juries and at trials. Similarly, the production of a

journalist's notes, drafts and negatives, tapes and film, often in massive

quantities, would become commonplace. See, e.g., In re.• Consumers Union,

495 F. Supp. at 586, n. 1.

      22.    Here, the facts relating to witnessing executions do not support

enforcement of a party-issued subpoena to a working journalist concerning an

execution she witnessed. Upon inforrnation and belief, a dozen or more

persons witnessed the executions Ms. Brown attended. The list of their names


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is an Alabama DOC record. There has been no showing the information

sought is not available from other witnesses who were not there as part oftheir

duties as reporters.

       WHEREFORE, Brown moves this Court to quash the subpoena issued

at the request ofthe Office ofthe Federal Public Defender in Ohio or to grant a

protective order based upon the Reporter's Shield Law and/or the Reporter's

Privilege.


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                         CERTIFICATE OF SERVICE

      I hereby certify that I have served a copy of the foregoing document

upon the following counsel by emailing them at the addresses shown in the

subpoena on this the 6th day of September 2019.

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